Case 1:04-cr-10073-.]DT Document 24 Filed 04/27/05 Page 1 of 2 Page|D 25

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

UNITED STATES OF AMERICA

 

VS. Cr. NO. 1:04-10073-01-T

DAVID RAY ANDERSON

ORDER OF DISMISSAL AS TO
DEFENDANT DAVID RAY ANDERSON

Upon motion of the United States Attorney, on April 7,
2005 and for good cause shown, it is,

ORDERED that the indictment in this case, as to the
defendant, Danny Ray Anderson, be and is hereby dismissed.

IT IS SO ORDERED.

 

 

UNI ED STATES DISTRICT JUDGE

DATE: §§ W MS/

 

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with Rule 55 and/or 32(b) FRC¢P on

 

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US DISTRICT COURT

